Dismissed and Memorandum Majority and Dissenting Opinions filed August
15, 2024.




                                      In The

                    Fourteenth Court of Appeals

                              NO. 14-24-00351-CV
                              NO. 14-24-00362-CV
                              NO. 14-24-00459-CV
                              NO. 14-24-00460-CV

                   IN THE MATTER OF C.K.G., Appellant


                    On Appeal from the 315th District Court
                            Harris County, Texas
              Trial Court Cause Nos. 2024-00894J &amp; 2024-00895J


                          MEMORANDUM OPINION

      This is an attempted appeal from an interlocutory order appointing guardian
ad litem. Appellant filed a notice of appeal on May 13, 2024. Generally, appeals
may be taken only from final judgments. Lehmann v. Har-Con Corp., 39 S.W.3d
191, 195 (Tex. 2001). When orders do not dispose of all pending parties and
claims, the orders remain interlocutory and unappealable until final judgment is
rendered unless a statutory exception applies. Bally Total Fitness Corp. v. Jackson,
53 S.W.3d 352, 352 (Tex. 2001); Jack B. Anglin Co., Inc. v. Tipps, 842 S.W.2d
266, 272 (Tex. 1992) (orig. proceeding). There is no appealable order or judgment
in the record before this court.

      On July 25, 2024, notification was transmitted to the parties of this court’s
intention to dismiss the appeal for want of jurisdiction unless appellant filed a
response demonstrating grounds for continuing the appeal on or before August 5,
2024. See Tex. R. App. P. 42.3(a). Appellant did not file a response.

      Accordingly, we dismiss the appeal.

                                   PER CURIAM

Panel Consists of Chief Justice Christopher and Justices Spain and Poissant.
(Spain, J., dissenting).




                                         2
